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     A.C., Sr., Petitioner  v.  The People of the State of Colorado, Respondent  In the Interest of Minor Children P.C. and A.C., Jr. No. 24SC349Supreme Court of Colorado, En BancJuly 1, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 23CA1910
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    